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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                    Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988                  www.ca6.uscourts.gov




                                                  Filed: August 08, 2023

Mr. Matthew E. Price
Jenner & Block
1099 New York Avenue, N.W.
Suite 900
Washington, DC 20001

                         Case No. 21-4072/22-3351/23-3196/23-3324/23-3366/23-3417, Dayton Power & Light
                     Re: Company, et al v. FERC
                         Originating Case No. : ER20-1068-000 : ER20-1068-003

Dear Counsel,

  The brief which you submitted to the court does not comply with the Federal Rules of
Appellate Procedure or Sixth Circuit Rules - the specific item or items to be corrected have been
marked on the enclosed checklist.

   The corrected brief must be filed by August 11, 2023. When you file the corrected brief on
the court's docket, you must use the applicable "corrected brief" event. Select the Event Category
of "Briefing", followed by "corrected brief". Failing to use the "corrected brief" event will result
in a request for correction and could delay the progress of the appeal. If you have any questions,
please contact the clerk's office for assistance.

                                                  Sincerely yours,

                                                  s/C. Anthony Milton
                                                  Case Manager
                                                  Direct Dial No. 513-564-7026

cc: Ms. Carol J Banta
    Mr. Jeffrey Michael Bayne
    Mr. Matthew Joseph Binette
    Ms. Cynthia S. Bogorad
    Ms. Stacey Lynn Burbure
    Mr. Zachary Benjamin Cohen
    Mr. Ryan James Collins
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   Ms. Johanna S. Dennehy
   Mr. Matthew Allen Fitzgerald
   Mr. Paul Michael Flynn
   Ms. Denise Claire Goulet
   Ms. Victoria J. Hall-Palerm
   Ms. Heather Horne
   Mr. William Keyser III
   Mr. Thomas G. Lindgren
   Mr. Morgan E. Parke
   Mr. David E. Pomper
   Mr. Pejavar Nikhil Rao
   Mr. William Rappolt
   Ms. Wendy N. Reed
   Mr. Robert Harris Solomon
   Ms. Lauren Luttrell Springett
   Mr. Michael Joseph Thompson
   Mr. Sanford Ian Weisburst

Enclosure
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                               CHECKLIST FOR BRIEFS

   Briefs and filing requirements are found in the Federal Rules of Appellate Procedure
    (FRAP) and the Sixth Circuit Local Rules (6 Cir. R.), located on the court's website. File
    the correct brief type (e.g. appellant, appellee, petitioner, respondent, 1st, 2d) only in the
    appropriate case. During filing of the brief, deselect any inapplicable case in CM/ECF
    by unchecking the inapplicable case numbers. In cross-appeals, file all briefs in all cases,
    unless you are a party to only one cross-appeal.

   Appellants filing one notice of appeal must file a single brief unless permission is granted
    for separate briefs. See FRAP 3(b)(1). Appellants file one reply brief regardless of the
    number of appellee briefs.

   Redact personal information. FRAP 25(a)(5) and rules cited therein provide guidance.

   File briefs in PDF, preferably searchable native PDF. 6 Cir. R. 25(a)(2); PACER
    website.

                                 BRIEF COMPONENTS

   Brief components must appear in the brief in the order indicated below. FRAP 28(a).

   I. COVER. Colored covers are not required for electronically filed briefs. Do include:

           Sixth Circuit Case Number(s).
           Name of the Court: "United States Court of Appeals for the Sixth Circuit."
           Title of the Case: Smith v. Jones.
           Nature of proceeding and court or agency below.
           Title identifying the party: e.g., "Brief of Appellee Lawrence Litigant"
           Name, address, and telephone number of counsel. FRAP 32(a)(2)

   II. CORPORATE DISCLOSURE. Consult FRAP 26.1 and 6 Cir. R. 26.1 for
    applicability.

   III. TABLE OF CONTENTS. Page references are required. FRAP 28(a)(2) and (b).

   IV. TABLE OF AUTHORITIES. FRAP 28(a)(3) and (b).

           Alphabetize case citations; include statutes and other authorities.
           Include references to the page in the brief where specific authority is cited.




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     V. STATEMENT IN SUPPORT OF ORAL ARGUMENT. FRAP 34; 6 Cir. R. 34.

             A party desiring oral argument must include a statement explaining why the
              court should hear argument. 6 Cir. R. 34(a). CAUTION: When filing the
              brief in CM/ECF, do not choose "argument requested" unless the brief
              contains an unambiguous statement giving reasons in support of
              argument. If the court decides to hear argument, no eligible party will be
              excluded based on a failure to request argument. Also see 6 Cir. R. 28(b)(1)(B).


Items in this box are included in the applicable page and/or word counts. FRAP 32(f).

     VI. STATEMENT OF JURISDICTION - See FRAP 28(a)(4); four areas must be
      addressed. Appellee need not include this statement if in agreement with
      appellant. FRAP 28(b).

     VII. STATEMENT OF ISSUES - See FRAP 28(a)(5). Appellee need not include this
      statement if in agreement with appellant. FRAP 28(b).

     VIII. STATEMENT OF THE CASE - See FRAP 28(a)(6); (b)

             Concise statement of the case setting out the facts relevant to the issues presented
              with description of procedural history, and identification of rulings presented for
              review and references to the record. A separate statement of facts is not
              required. FRAP 28(a)(6).
             Appellee need not include this statement if in agreement with appellant.

     IX. SUMMARY OF THE ARGUMENT - Succinct, clear, and accurate statement of the
      argument(s) that does not merely repeat the argument headings. FRAP 28(a)(7).

     X. ARGUMENT

             Include the "contentions and reasons for them." FRAP 28(a)(8)(A).
             Citations to the relevant authorities and record parts. FRAP 28(a)(8)(A).
             Include the standard of review for each issue. FRAP 28(a)(8)(B);
              (b). Appellee need not include this statement if in agreement with appellant.

     XI. CONCLUSION

             State the precise relief sought. FRAP 28(a)(9).
             Filing attorney(s) signature(s) required: s/(Attorney's Name). 6 Cir. R. 25(d)(1).




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   XII. CERTIFICATE OF COMPLIANCE: As required under FRAP 32(g) (effective
    December 1, 2016).

   XIII. CERTIFICATE OF SERVICE: Include date served; parties served; manner of
    service (mail or CM/ECF); and attorney signature. See FRAP 25(d).

   XIV. ADDENDUM

           Designation of relevant originating court documents with Page ID # range, if
            applicable. 6 Cir. R. 28(b)(1)(A)(i). (See "Citations to the Record" below.)
           Consult 6 Cir. R. 30(g) for types of documents that must be designated.
           May include relevant statutes, rules, regulations.
           Must include copies of decisions "not available in a publicly accessible electronic
            database." FRAP 32.1(b); 6 Cir. R. 32.1(a).

                            CITATIONS TO THE RECORD

   Appeals from the district courts. 6 Cir. R. 28(a)(1). Each citation must include:

           Short description of record item: Motion for Summary Judgment; Order;
            Transcript.
           Docket entry number: RE 25, R. 13. "RE," "R." preferred; avoid "D", "DE", or
            "Doc."
           Page ID # range for the relevant portion of the document: Page ID # 220-
            227. The Page ID # is in blue on the header or footer of the PDF document when
            it is opened from the district court's docket. When citing to a sealed document to
            which counsel has been denied access and therefore cannot see Page ID #, explain
            in a footnote and refer to the docket entry number and page number. E.g., sealed
            entry 23, page 3.



                             EXAMPLES OF ACCEPTABLE CITATIONS

                  o   Motion for Summary Judgment, RE 23, Page ID # 120-145
                  o   Transcript, R. 52, Page ID ## 675-682
                  o   Agency Record, RE 12, Page ID # 190-191 (this applies when an
                      administrative record is filed in district court, e.g., Social Security or
                      ERISA cases).




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   Other appeals. 6 Cir. R. 28(a)(2). In petitions for review of agency decisions, cite to the
    page number of the administrative record or the appendix. Page ID #'s do not apply.

   Placing citations and references within the brief text is preferred over footnote references.

                 BRIEF LENGTH, FORMATTING, and TYPEFACE

   Typefaces: see FRAP 32(a)(4), (5), and (6). Briefs must be double-spaced.

           Either a proportionally spaced font at 14 pt. (such as Times New Roman), or
           Monospaced font not exceeding 10 1/2 characters per inch (such as Courier New
            at 12 point).
           The court asks footnotes be in the same font size as text.

   Length of briefs: see FRAP 32(a)(7).

           Principal: 30 pages OR up to 13,000 words OR 1,300 lines of monospaced
            typeface.
           Reply: 15 pages OR up to 6,500 words OR 650 lines of a monospaced typeface.
           Include a certificate of compliance if over 30 pages. FRAP 32(g).
           Headings, footnotes, quotations count in word and line limitations. See 6th Cir.
            R. 32(b) for items excluded from the length limits.

   Briefs for cross-appeals: see FRAP 28.1; Amicus briefs: see FRAP 29, 32.




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